Case 1:21-cv-02028-NRN Document 20 Filed 11/10/21 USDC Colorado Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-02028-NRN

JOHN MEGGS,

Plaintiff,

v.

WELCH 3 INVESTMENTS LLC and
WELCH 3 HOLDINGS INC,

Defendants.

                                     MINUTE ORDER

Entered by Magistrate Judge N. Reid Neureiter

       In light of the Joint Notice of Settlement (Dkt. #19), it is hereby ORDERED that
the parties shall file their dismissal papers, or, if no settlement has been reached, a joint
status report explaining the delay, on or before November 30, 2021.

    It is further ORDERED that the Status Conference set on March 10, 2022 is
VACATED.

Date: November 10, 2021
